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                                                            ELECTRONICALLY FILED
                         UNITED STATES DISTRICT COURT       DOC #:
                        SOUTHERN DISTRICT OF NEW YORK       DATE FILED: 1/9/2020


 SECURITIES AND EXCHANGE
 COMMISSION,                                        Civil Action No. 20-cv-00007-LGS
                Plaintiff,
     v.

 STEVE M. BAJIC,
 RAJESH TANEJA,
 NORFOLK HEIGHTS LTD.,
 FOUNTAIN DRIVE LTD.,
 ISLAND FORTUNE GLOBAL LTD.,
 CRYSTALMOUNT LTD.,
 WISDOM CHAIN LTD.,
 SSID LTD.,
 SURE MIGHTY LTD.,
 TAMARIND INVESTMENTS INC.,
 KENNETH CIAPALA,
 ANTHONY KILLARNEY,
 BLACKLIGHT SA,
 CHRISTOPHER LEE MCKNIGHT, and
 AARON DALE WISE,

                        Defendants.


                                   [Proposed]
                    ORDER FREEZING AND REPATRIATING ASSETS

       Having considered the motion for an asset freeze, and other preliminary relief filed by

plaintiff Securities and Exchange Commission (“the Commission”), as well as the Complaint, the

Commission’s memorandum of law, and the accompanying declaration of Trevor Donelan, the

Court finds that the Commission has shown that: (1) it is reasonably likely to establish that

Steve M. Bajic, Rajesh Taneja, Norfolk Heights Ltd., Fountain Drive Ltd., Island Fortune Global

Ltd., Crystalmount Ltd., Wisdom Chain Ltd., SSID Ltd., Sure Mighty Ltd., and Tamarind

Investments Inc. (collectively, the “Bajic-Taneja Defendants”) have directly or indirectly

engaged in the violations alleged in the Complaint; (2) there is a likelihood that unless restrained
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and enjoined by Order of this Court, the Bajic-Taneja Defendants may dissipate and conceal

assets which could be subject to an order of disgorgement or an order to pay a civil monetary

penalty in this action; and (3) entry of an order repatriating the Bajic-Taneja Defendants’ assets

to the United States is in the public interest. In consideration of the foregoing:




       IT IS HEREBY ORDERED that:

       A.      The Bajic-Taneja Defendants, and each of their officers, agents, servants,

employees and attorneys and those persons in active concert or participation with them who

receive actual notice of this Order by personal service or otherwise, including facsimile

transmission, electronic mail, or overnight delivery service, shall hold and retain funds and other

assets of the Bajic-Taneja Defendants and presently held by them, for their direct or indirect

benefit, under their direct or indirect control or over which they exercise actual or apparent

investment or other authority (including assets held in the name of or for the benefit of the Bajic-

Taneja Defendants, in whatever form such assets may presently exist and wherever located, and

shall prevent any withdrawal, sale, payment (including, but not limited to, any charges on any

credit card or draws on any other credit arrangement)), transfer, dissipation, assignment, pledge,

alienation, encumbrance, disposal, or diminution in value of any such funds or other assets,

which are hereby frozen, including, but not limited to, such funds held in the following accounts:

                                     Location                                        Possible Acct
            Institution                                  Possible Acct Name(s)
                                                                                        No(s)
  China Galaxy Securities        United States        Rajesh Taneja                     x6000
  International                                       Fountain Drive Ltd.               x7000
                                                      Island Fortune Global Ltd.         TBD
                                                      Crystalmount Ltd.                  TBD
                                                      Wisdom Chain Ltd.                  TBD
                                                      Sure Mighty Ltd.                   TBD
                                                      SSID Ltd.                          TBD
                                                      Tamarind Investments, Inc.         TBD
                                                      Chaine Des Rotisseurs Ltd.         TBD



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                                   Location                                       Possible Acct
          Institution                                 Possible Acct Name(s)
                                                                                     No(s)
DBS Bank (Hong Kong)            Hong Kong         Artefactor Limited                 x4377
Limited                                           Sim Conference Limited             x6777
                                                  Tamarind Investments, Inc.         x8894
Hang Seng Bank Limited          Hong Kong         Digital Solutions Ltd.             x6883
                                                  Sure Mighty Limited                x6883
                                                  True Champion Holdings Ltd.        x9883
HSBC Hong Kong                  Hong Kong         Right Power Services Ltd.          x0838
                                                  Success Zone Technology Ltd.       x4838
                                                  Key Choice Corporation Ltd         x3838
                                                  Fountain Drive Ltd.                x3838
                                                  Oriental Rainbow Group Ltd.        x0838
                                                  Alabron Capital Corp.              x4838
                                                  Provido Ventures, Inc.             x6838
                                                  Iceberg Investments                x6838
                                                      Management Group
                                                  LL Partner Ltd.                    x9838
RHB Securities (Hong Kong)      Hong Kong         Norfolk Heights Ltd.               x2519
Limited                                           Fountain Drive Ltd.                x2050
                                                  Island Fortune Global Ltd.         x1845
                                                  Crystalmount Ltd.                  x1864
                                                  Wisdom Chain Ltd.                  x3273
                                                  Sure Mighty Ltd.                   x3411
                                                  SSID Ltd.                          x2014
                                                  Tamarind Investments, Inc.         x2447
                                                  Chaine Des Rotisseurs Ltd.         x3511
                                                  Rajesh Taneja                      x1749
                                                  Steven Bajic                       x1841
Yuanta Securities (HK)          Hong Kong         Fountain Drive Ltd.               2385xxx
Company Limited                                   Tamarind Investments, Inc.        2380xxx
                                                  Sure Mighty Ltd.                  2402xxx
                                                  Rajesh Taneja                     1376xxx
Bank of Singapore               Singapore         SSID Ltd.                          x3876
                                                  Fountain Drive Ltd.                x3889
                                                  Tamarind Investments, Inc.         x3890
                                                  Chaine Des Rotisseurs Ltd.         x6113
                                                  Rajesh Taneja                      x3873
DBS Treasuries Private Client   Singapore

DBS Vickers Securities          Singapore
Overseas Chinese Banking        Singapore         Island Fortune Global Ltd.         x5301
Corp.                                             Pacific Asia Capital Pte Ltd.      x0301
                                                  SSID Ltd.                          x0301
                                                  Crystalmount Ltd.                  x9301
                                                  Fountain Drive Ltd.                x0301
United Overseas Bank            Singapore         Lion State Capital Pte Ltd.        x9939
                                                  Star Step Limited                  x9521
                                                  Conversant Solutions Pte Ltd.      x5740
                                                  Conversant Pte                     x6469
                                                  Golden Gulf Holdings Ltd.          x6047
Bank of Montreal                Canada            Norfolk Heights Ltd.               x3602
                                                                                     x9040
                                                  Wisdom Chain Ltd.                  x6917
Haywood Securities              Canada            Norfolk Heights Ltd.               x005C



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                                      Location                                        Possible Acct
             Institution                                   Possible Acct Name(s)
                                                                                         No(s)
                                                       Fountain Drive Ltd.               x064C

        B.      All banks, brokerage, and other financial institutions (including but not limited to

those listed in Paragraph I.A) and other persons or entities (including but not limited to payment

processors, investors and/or promoters) that receive actual notice of this Order by personal

service or otherwise, including via facsimile or email transmission, or overnight delivery service,

holding any funds or other assets in the name, for the direct or indirect benefit, or under the

direct or indirect control of the Bajic-Taneja Defendants or over which the Bajic-Taneja

Defendants exercise actual or apparent investment or other authority, in whatever form such

assets may presently exist and wherever located, shall hold and retain within their control and

prohibit the withdrawal, removal, sale, payment (including, but not limited to, any charges on

any credit card or draws on any other credit arrangement), transfer, dissipation, assignment,

pledge, alienation, encumbrance, diminution in value, or other disposal of any such funds or

other assets; and that such funds and assets are hereby frozen.

        C.      The above Paragraphs I.A and I.B shall immediately cease to apply to any assets

located within the United States, including any bank, brokerage or other financial institution

account, which becomes subject to any later order entered by any federal court as a result of

proceedings which may be filed by the United States or any department or agency thereof under

any federal civil or criminal forfeiture statute, to the extent such later order requires the transfer

of any asset to the United States government.




        IT IS HEREBY FURTHER ORDERED that the Bajic-Taneja Defendants, and each of

their officers, agents, servants, employees and attorneys, and those persons in active concert or



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 participation with them who receive actual notice of this Order by personal service or otherwise,

 including via facsimile or email transmission, or overnight delivery service, and each of them,

 shall, within five days of receiving actual notice of this Order, take such steps as are necessary to

 repatriate and deposit into the registry of the Court in an interest bearing account, any and all

 funds or assets that presently may be located outside of the United States that were obtained

 directly or indirectly from the trading described in the Complaint.

                                                III.


     IT IS HEREBY FURTHER ORDERED that the conditions set forth in the preceding
paragraphs of this Order shall expire on April 9, 2020, but this temporal limitation is applied
without prejudice to an extension (upon Plaintiff's motion).

Dated: January 9, 2020
       New York, New York




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